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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIDAL WHITLEY,
                           Plaintiff,                         ORDER

                    -against-                                 17-CV-03652 (PMH)
NYS DOCCS, et al.,
                           Defendants.


PHILIP M. HALPERN, United States District Judge:

         Due to a scheduling conflict, the conference scheduled for 11:00 a.m. on November 10,

2020 is rescheduled to January 5, 2021 at 9:30 a.m. At the time of the scheduled conference, the

parties shall call: (888) 398-2343; access code: 3456831. Defense counsel shall serve Plaintiff with

a copy of this Order, as well as a copy of the Notice of Initial Conference (Doc. 68), and file proof

of service on the docket. The parties are reminded that they must file a Proposed Civil Case

Discovery Plan and Scheduling Order at least one week before the new conference date.

                                                  SO ORDERED:

Dated:    New York, New York
          November 9, 2020

                                                 PHILIP M. HALPERN
                                                 United States District Judge
